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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SVOTHI INC.,

                                                             Civil Action No. 25 CV 00333

                                                             ANSWER WITH
                                                             COUNTERCLAIMS




ANSWER OF DEFENDANTS DARK ALLEY MEDIA, LLC AND ROBERT FELT TO
PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES AND
COUNTERCLAIM WITH JURY DEMAND

Defendants Dark Alley Media, LLC (“DAM”) and Robert Felt, by their attorneys, Ravi

Ivan Sharma, P.C., as and for their Answer to the Complaint of Plaintiff, Affirmative

Defenses,1 and Counterclaims against SVOTHI, INC., respectfully allege as follows:

        1.     This is an action for trademark infringement.

        ANSWER:          Defendants admit that Plaintiff has made the




1 Matter subject to Arbitration: Defendants assert that this matter must be stayed pending


arbitration involving the parties, have plead such as an affirmative defense to the Complaint
to preserve their right to arbitration, and intend to move the court for a stay for such purpose.
Defendants are filing this Answer, notwithstanding that this matter should be stayed pending
arbitration, to assert their Counterclaims against Plaintiff and to protect the substantial
goodwill that Dark Alley Media, LLC has developed over approximately 17 years in its
distinctive word mark and logo alleged in the Complaint and the Counterclaim as the RFC
Marks. Accordingly, this Answer does not wave Defendant’s right to move the Court to stay this
matter pending arbitration.

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      allegation of Paragraph 1 of the Complaint regarding the reason

      it claims to have filed its Complaint but deny Plaintiff’s claims

      have merit and denies the allegations in Paragraph 1 of the

      Complaint.

     2.     For more than two decades, Plaintiff SVOTHI, Inc. (“SVOTHI”) has

been a leader in the adult online content industry, operating a digital platform for the

delivery of premium adult content. SVOTHI runs adult websites and other technology

channels under the common-law marks “RFC”; “RFC.com”; and                    (together, the “RFC

Marks”).

     ANSWER: Defendants lack knowledge or information sufficient to

     form a belief about the truth of the allegations of the first sentence

     of paragraph 2 of the Complaint. Defendants lack knowledge or

     information sufficient to form a belief about the truth of the

     allegations that Plaintiff “runs” anything of the second sentence

     of paragraph 2 of the Complaint. Defendants deny any implication

     of the allegations of the second sentence of paragraph 2 of the

     Complaint that Plaintiff has any cognizable rights to the RFC

     Marks referenced.

      3.    SVOTHI has invested millions of dollars and decades of effort to

ensure that consumers associate the RFC Marks with SVOTHI and its premium

adult content.

     ANSWER: Defendants lack knowledge or information sufficient to

     form a belief about the truth of the allegations of paragraph 3 of

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     the Complaint.

     4.     Defendants Dark Alley Media, LLC (“Dark Alley”) and its principal

Mr. Robert Felt, an adult content creator professionally known as Owen Hawk

(“Mr. Felt” and, together with Dark Alley, “Defendants”), have affixed exact

reproductions of the RFC Marks to Defendants’ own websites and video content.

Defendants’ conduct deliberately trades on Plaintiff’s RFC Marks and goodwill,

and is intended to deceive consumers into believing that SVOTHI is the source of,

or associated, with Defendants’ content and businesses.

     ANSWER: Defendants admit the allegations of the first sentence

     of paragraph 4 of the Complaint but deny any affixing to video

     content. Defendants deny the allegations of the second sentence

     of paragraph 4 of the Complaint.

      5.    Defendants’ conduct is causing irreparable harm to SVOTHI in

violation of the Lanham Act and state law. Plaintiff seeks injunctive relief against

Defendants’ ongoing, unauthorized conduct; damages; attorney’s fees; and other

appropriate relief described below

      ANSWER: Defendants deny the allegations of the first sentence

      of paragraph 5 of the Complaint. Defendants deny that Plaintiff

      is entitled to the judgment and relief prayed for in the allegations

      of the second sentence of paragraph 5 and denies the remainder

      of the allegations of the second sentence of paragraph 5 of the

      complaint.



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PARTIES

      6.     Plaintiff SVOTHI, Inc. is a corporation organized under the laws of

the State of New York.


      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 6

      of the Complaint.

      7.     Defendant Dark Alley Media, LLC is a limited liability company

organized under the laws of the State of New York.

      ANSWER: Defendants admit the allegations of paragraph 4 of the

      Complaint.

      8.     Defendant Mr. Robert Felt is a natural person who resides in this
             District.

     ANSWER: Defendants admit the allegations of paragraph 8 of the

     Complaint.

      9.     Upon information and belief, Defendant Mr. Robert Felt is the sole

member and manager of Defendant Dark Alley Media, LLC.

      ANSWER: Defendants deny the allegations of paragraph 9 of the

      Complaint.

      10.    Defendants conduct substantial business in New York State and

within this District, including the unauthorized and infringing conduct

complained of herein. Defendant Dark Alley Media, LLC maintains its

headquarters and principal office in the County of New York and manages the

owenhawk.com website from within this District. Defendant Mr. Felt operates

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and directs the operations of Dark Alley Media, LLC and the owenhawk.com

website from the company’s headquarters, and frequently within the State of New

York and this District to, among other things, manage and operate Defendant

Dark Alley Media, LLC’s digital properties and to produce video content for

distribution, including through Dark Alley Media, LLC’s digital properties and

the owenhawk.com website. Moreover, Defendant Mr. Felt operates his X

(formerly Twitter) account @owenhawkxxx within the State of New York and

publishes its content to users within the State of New York.

      ANSWER: Defendants admit the allegations of the first part of the

      first sentence of paragraph 10 of the Complaint. Defendants deny

      the allegations of the second part of the first sentence of

      paragraph 10 of the Complaint. Defendants admit the allegations

      of the first part of the second sentence of paragraph 10 of the

      Complaint. Defendants deny the allegations of the second part of

      the second sentence of paragraph 10 of the Complaint.

      Defendants admit the allegations of the third sentence of

      paragraph 10 of the Complaint. Defendants admit the allegations

      of the fourth sentence of paragraph 10 of the Complaint.

      11.    On information and belief, other persons or entities whose identities

are not yet known to Plaintiff have participated in the willful and wrongful

infringement of Plaintiff’s RFC Marks.

     ANSWER: Defendants admit that Plaintiff has made the allegation



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     of Paragraph 11 of the Complaint but deny the allegation itself.

             JURISDICTION AND VENUE


      12.    This Court has subject matter jurisdiction over Plaintiff’s claims

under 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff’s

claims arise under the Lanham Act, 15 U.S.C. §§ 1051 et seq.


      ANSWER: Defendants admit the allegations of paragraph 12 of

      the Complaint that the Court has subject matter jurisdiction over

      this case.

      13.    This Court has pendent jurisdiction over Plaintiff’s state-law

claims under 28 U.S.C. § 1338(b) because they are “joined with a substantial and

related claim under the

… trademark laws” of the United States.

     ANSWER: Defendants admit the allegations of paragraph 13 of the

     Complaint that the Court has jurisdiction over state law claims in

     this case.

      14.    This Court has supplemental jurisdiction over Plaintiff’s state-law

claims under 28 U.S.C. § 1367(a) because they are related to claims within the

original jurisdiction of this Court.

      ANSWER: Defendants admit the allegations of paragraph 14 of

      the Complaint that the Court has jurisdiction over state law

      claims in this case.

      15.    Venue is proper under 28 U.S.C. § 1400(a) and under 28 U.S.C. §

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             1391(b).

      ANSWER: Defendants admit the allegations of paragraph 15 of

      the Complaint that the Court has venue in this case.

      16.    This Court has personal jurisdiction over the Defendants pursuant

to CPLR 301 and CPLR 302. Dark Alley Media, LLC is headquartered in New

York, is essentially at home in New York, and transacts substantial and ongoing

business in New York. Mr. Felt resides in New York, manages Dark Alley Media,

LLC from and within New York, and routinely travels within the state of New

York in connection with his and Dark Alley Media, LLC’s businesses and

infringing conduct, including the conduct herein alleged.

      ANSWER: Defendants admit that the Court has personal

      jurisdiction over them for purposes of this case and Defendants

      admits they have sufficient contacts with New York. Defendants

      deny the remainder of the allegations in Paragraph 16.

     PLAINTIFF’S RFC MARKS

      17.    Plaintiff established common-law rights in the RFC Marks no later

than 2010 through its public marketing and sale of adult video content and other

digital media under and in connection with the RFC Marks.

      ANSWER: Defendants deny the allegations of paragraph 17 of the

      Complaint.

      18.    Plaintiff has used the RFC Marks continuously since in or about 2010

through its operation of its websites and other properties and services.



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     ANSWER: Defendants lack knowledge or information sufficient to

     form a belief about the truth of the allegations of paragraph 18 of

     the Complaint because they are indecipherable regarding the

     meaning and the use of word “used”, the meaning and the use of

     the words “through its operation”, and due to the lack of

     specificity of the words “Plaintiff’s websites and other properties

     and services.”

      19.    Plaintiff’s RFC Marks are well-known to consumers, including

thousands of consumers who pay and subscribe for access to SVOTHI’s online

video content.

      ANSWER: Defendants admit the allegations of paragraph 19 of

      the Complaint that the RFC Marks are well-known to consumers.

      Defendants lack knowledge or information sufficient to form a

      belief about the truth of the remaining allegations of paragraph

      19 of the Complaint.

      20.    Plaintiff has spent substantial time, money and effort in building up

and developing consumer recognition, awareness and goodwill in the RFC Marks.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 20

      of the Complaint.

      21.    The success of Plaintiff’s business, and of the RFC Marks and brand,

is due in material part to Plaintiff’s marketing and promotional efforts. Plaintiff



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has spent millions of dollars in the marketing, promotion and sales of adult media

offered to consumers under the RFC Marks.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 21

      of the Complaint.

      22.    Plaintiff’s success is also due to its earned reputation for high-quality

video content, and for scrupulous compliance with the web of laws and

regulations that apply to adult media.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 21

      of the Complaint.

      23.    As a result of Plaintiff’s efforts and investments, the quality of its

media offerings, including online video offerings under the RFC Marks, and

Plaintiff’s extensive and costly marketing, promotion, compliance and sales

efforts, members of the public have become familiar with Plaintiff’s brand and

with the RFC Marks, and they associate them exclusively with Plaintiff.

      ANSWER: Defendants deny the allegations of paragraph 23 of the

      Complaint that members of the public associate the RFC Marks

      exclusively with Plaintiff. Defendants lack knowledge or

      information sufficient to form a belief about the truth of all the

      other allegations of paragraph 23 of the Complaint.

      24.    Plaintiff has spent extensive time and money on the development



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and marketing of its adult websites offered to the public under and in connection

with the RFC Marks. The public associates the RFC Marks with Plaintiff’s

websites and other digital media businesses due to the common and continuous

use of the RFC Marks. The goodwill and positive reputation that Plaintiff has

acquired through the continued success of its ventures is of value to Plaintiff in

its marketing and promotion of its websites and media technology.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 24

      of the Complaint.

      25.    Customers and potential customers; business partners including content

creators and networked distribution platforms; and compliance-involved entities

including financial institutions and regulators have all come to associate the RFC

Marks exclusively with Plaintiff as a reputable source of premium, compliant and

ethical adult video content.

      ANSWER: Defendants deny the allegations of paragraph 25 of the

      Complaint that the people and entities alleged associate the RFC

      Marks exclusively with Plaintiff. Defendants lack knowledge or

      information sufficient to form a belief about the truth of all the

      other allegations of paragraph 25 of the Complaint.

      26.    The RFC Marks are distinctive and have acquired additional
             distinctiveness

through Plaintiff’s marketing and promotional efforts.


     ANSWER: Defendants admit the allegations of paragraph 26 of the

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     Complaint that the RFC Marks are distinctive and have acquired

     additional distinctiveness.              Defendants lack knowledge or

     information sufficient to form a belief about the truth of the

     remaining allegations of paragraph 26 of the Complaint.


      27.    Plaintiff has acquired valuable reputation and goodwill among the

public as a result of the association of the RFC Marks with Plaintiff’s premium,

ethical and compliant digital media.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 27

      of the Complaint.

      28.    Plaintiff endeavors to protect its reputation, intellectual property,

and other highly valuable commercial interests.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 28

      of the Complaint.

      29.    Plaintiff has not authorized Defendants to use the RFC Marks.

      ANSWER: Defendants lack knowledge or information sufficient

      to form a belief about the truth of the allegations of paragraph 28

      of the Complaint.

     DEFENDANTS’ TRADEMARK INFRINGEMENT


      30.    Starting in or about December 2024 and early January 2025,

Defendants have begun to engage in the sale and distribution in interstate

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commerce of goods and services unlawfully using Plaintiff’s RFC Marks.


      ANSWER: Defendants deny the allegations of paragraph 30 of the

      Complaint.

      31.    Defendants       are    thus     engaged      in   the    unauthorized,    willful

infringement of the RFC Marks.

      ANSWER: Defendants deny the allegations of paragraph 31 of the

      Complaint.

      32.    On or about January 1, 2025, Defendants added the RFC Marks to

their own adult video website owenhawk.com and Defendant Robert Felt added

the RFC Marks to his own social media content, including Mr. Felt’s X (formerly

Twitter) account @owenhawkxxx.

      ANSWER: Defendants admit the allegations of paragraph 32 of

      the Complaint only to the extent that the RFC Marks were added

      to owenhawk.com by Defendants.

      33.    For example, beginning on or about January 1, 2025, Defendants

displayed Plaintiff’s graphical mark              without authorization on the homepage

of owenhawk.com, side-by-side with Defendants’ own graphical mark:

        IMAGE FROM DEFENDANTS’ OWENHAWK.COM HOMEPAGE1




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      ANSWER: Defendants admit the allegations of paragraph 33 of

      the Complaint only to the extent that the RFC Marks were

      displayed on owenhawk.com. Defendants deny the allegations of

      paragraph 33 of the Complaint that any mark is Plaintiff’s and

      that any mark was displayed without authorization.


      34.     The unauthorized display of Plaintiff’s                   mark on Defendants’

website, and use of the            mark as a source indicator for Defendants’ digital

content, is a willful and unlawful attempt to confuse consumers into believing

that Plaintiff is the source of, or has sponsored or approved of, the content

created, published or distributed by the Defendants.


      ANSWER: Defendants deny the allegations of paragraph 34 of the

      Complaint.

      35.     The unauthorized display of Plaintiff’s                           mark next to

Defendants’ graphical Owen Hawk.com mark and related content is a willful and

unauthorized effort to suggest a false connection between Plaintiff and

Defendants.

      ANSWER: Defendants deny the allegations of paragraph 35 of the

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      Complaint.

      36.    Other infringing content published on Defendants’ websites and
             media

properties is also unlawful and harmful to Plaintiff.

     ANSWER: Defendants deny the allegations of paragraph 36 of the

     Complaint.


      37. The “Contact” page of Defendants’ owenhawk.com website, which page

is prominently linked-to and accessible from the owenhawk.com homepage,

displays the following infringing image and text:

             IMAGE FROM DEFENDANTS’                        OWENHAWK.COM CONTACT

             PAGE2




     ANSWER: Defendants admit the allegations of paragraph 38 of the

     Complaint only to the extent that the RFC Marks are displayed on

     owenhawk.com. Defendants deny the allegations of paragraph 37

     of the Complaint that any mark is infringing.




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      38.    The above-depicted contact page from Defendants’ website, and the

images and text thereon, falsely suggest that the Defendants are operating

Plaintiff’s online media businesses and the content offered under the RFC Marks;

that Plaintiff’s online media business is “in the grave” and needs to be “br[ought]

… back” from it; and that Defendants are authorized to, or in the process of,

soliciting “founding member[s]” for a “new RFC” with the approval and

endorsement of Plaintiff SVOTHI. None of those claims is true and none of that

conduct is authorized by the Plaintiff.


      ANSWER: Defendants deny the allegations of paragraph 38 of the

      Complaint.

      39.    Defendant Mr. Felt’s X account at @owenhawkxxx is also replete

with infringing and unauthorized uses of Plaintiff’s RFC Marks.

      ANSWER: Defendants deny the allegations of paragraph 39 of the

      Complaint.

      40.    Defendant Mr. Felt’s             X account at @owenhawkxxx displays

unprofessional, profane and in some cases unlawful content — including but not

limited to depictions of the use of illicit drugs, depictions of non-consensual sexual

encounters, depictions of sexual encounters with persons under the influence of

intoxicants, and statements endorsing rape and nonconsensual sex — next to and

in some cases on the same posts that use, without authorization, the RFC Marks.


     ANSWER: Defendants deny the allegations of paragraph 40 of the

     Complaint.

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      41.    Social media posts on Mr. Felt’s @owenhawkxxx account depict Mr.

Felt himself visibly under the influence of intoxicating drugs.

      ANSWER: Defendants deny the allegations of paragraph 41 of the

      Complaint.

      42.    Mr. Felt’s illegal and unauthorized use of the RFC Marks next to and

in connection with the foregoing content is harmful to Plaintiff because it erodes

public confidence in Plaintiff’s reputation for, and longstanding commitment to

compliance with, legal and regulatory restrictions against (among other things)

depictions of drug use and nonconsensual sex.

      ANSWER: Defendants deny the allegations of paragraph 42 of the

      Complaint.

      43.    A “pinned” X post on @owenhawkxxx invites digital content

producers who “filmed studio content … in the last 15 years” to “license it back to

[their own] fan sites”, thus deliberately and unlawfully attempting to induce adult

content producers to breach their agreements with Plaintiff.

      ANSWER: Defendants deny the allegations of paragraph 43 of the

      Complaint to the extent they allege that that Defendants

      attempted to induce anyone to breach any agreements with

      Plaintiff. Defendants lack knowledge or information sufficient to

      form a belief about the truth of the allegations of paragraph 18 of

      the Complaint that anyone has agreements with Plaintiff.

      44.    Defendant Mr. Felt is a moving, active and conscious force behind



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Defendant Dark Alley Media, LLC’s infringing conduct because, among other

things, he directs and authorizes that conduct, and because he single-handedly

operates the X account @owenhawkxxx which participates in and contributes to

Dark Alley Media, LLC’s infringing conduct.

      ANSWER: Defendants deny the allegations of paragraph 44 of the

      Complaint to the extent they allege that any conduct is

      infringing, that Mr. Felt authorizes infringing conduct and that

      X account @owenhawk participates in and contributes to any

      infringing conduct.

      45.    Mr. Felt is also the sole member, manager, employee and officer of

Dark Alley Media, LLC.

      ANSWER: Defendants deny the allegation of paragraph 45 of the

      Complaint.

      46.    Mr. Felt has the authority to bind Dark Alley Media, LLC in

transactions with third parties, including because he is the sole member, manager,

employee and officer of Dark Alley Media, LLC, and because he contracts with

producers and adult artists to license their work, images, and content for

distribution through Dark Alley Media, LLC’s business and websites.

      ANSWER: Defendants admit that Mr. Felt has the authority to

      bind Dark Alley Media, LLC in transactions but deny that the list

      of reasons why such may be so as alleged in paragraph 46 is fully

      accurate or correct.


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      47.     Defendants’ deliberate and unauthorized misappropriation and use

of Plaintiff’s RFC Marks is confusing to consumers and is intended to deceive the

public into believing that Defendants’ enterprises and media are affiliated with

Plaintiff.

      ANSWER: Defendants deny the allegations of paragraph 47 of the

      Complaint.

      48.     Through their unlawful conduct, Defendants seek to gain the benefit

of the goodwill and reputation for quality and compliance that Plaintiff has

established through its extensive efforts to build its brand and the RFC Marks.

      ANSWER: Defendants deny the allegations of paragraph 48 of the

      Complaint.

      49.     Through their infringing use of the RFC Marks, Defendants are

irreparably harming Plaintiff’s reputation and goodwill, infringing and diluting

Plaintiff’s trademark, improperly profiting from Plaintiff’s intellectual property,

and engaging in unfair competition.

      ANSWER: Defendants deny the allegations of paragraph 49 of the

      Complaint.

      50.     Plaintiff is irreparably harmed by the false association and link

between Defendants’ adult media business and Plaintiff’s businesses, including

those conducted under the RFC Marks.

      ANSWER: Defendants deny the allegations of paragraph 50 of the

      Complaint.



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      51.    Defendants’ conduct is willful, deliberate, and in bad faith.

      ANSWER: Defendants deny the allegations of paragraph 51 of the
      Complaint.


     COUNT I: TRADEMARK INFRINGEMENT UNDER THE LANHAM
     ACT 15 U.S.C. § 1125(a)

      52.    Plaintiff realleges each and every allegation set forth in the

preceding paragraphs as if more fully set forth herein.


      ANSWER: Defendants repeat, and fully incorporate by reference,

      their answers to paragraphs 1 through 51 of the Complaint.

      53.    Plaintiff has priority of rights in the RFC Marks.

      ANSWER: Defendants deny the allegation of paragraph 53 of the
      Complaint.

      54.    Defendants are intentionally and willfully, or acting with willful

blindness, using Plaintiff’s RFC Marks in connection with Defendants’ adult

websites, social media accounts, and other media businesses, for Defendants’

financial gain.

      ANSWER: Defendants deny the allegations of paragraph 54 of the

      Complaint.

      55.    Defendants’ use of the RFC Marks without Plaintiff’s consent

constitutes trademark infringement in violation of 15 U.S.C. § 1125, in that,

among other things, such use is likely to cause confusion, deception, and mistake

among the consuming public and industry as to the origin, approval or sponsorship

of goods, services and commercial activities.

      ANSWER: Defendants deny the allegations of paragraph 55 of the

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      Complaint.

      56.    As a direct and proximate result of the foregoing acts, Plaintiff has

been damaged and has suffered, and will continue to suffer, significant damages,

in an amount to be determined at trial.

      ANSWER: Defendants deny the allegations of paragraph 55 of the

      Complaint.

      57.    Defendants’ actions have caused and — unless enjoined by this Court

— will continue to cause irreparable injury to Plaintiff for which Plaintiff has no

adequate remedy at law. Plaintiff is therefore entitled to injunctive relief

enjoining and restraining Defendants from use of the RFC Marks or any mark

that is confusingly similar thereto.

      ANSWER: Defendants deny the allegations of paragraph 57 of the

      Complaint.

     COUNT II: TRADEMARK INFRINGEMENT UNDER
     NEW YORK COMMON LAW

      58.    Plaintiff realleges each and every allegation set forth in the

preceding paragraphs as if more fully set forth herein.


      ANSWER: Defendants repeat, and fully incorporate by reference,

      their answers to paragraphs 1 through 57 of the Complaint.

      59.    Defendants are intentionally and willfully, or acting with willful

blindness, using Plaintiff’s RFC Marks in connection with Defendants’ adult

websites, social media accounts, and other media businesses, for Defendants’

financial gain.

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      ANSWER: Defendants deny the allegations of paragraph 59 of the

      Complaint.

      60.    Defendants’ use of the RFC Marks without Plaintiff’s consent

constitutes trademark infringement in violation of New York common law in that,

among other things, such use is likely to cause confusion, deception, and mistake

among the consuming public and industry as to the source, approval or

sponsorship of goods, services and commercial activities.

      ANSWER: Defendants deny the allegations of paragraph 60 of the

      Complaint.

      61.    As a direct and proximate result of the foregoing acts, Plaintiff has

been damaged and has suffered, and will continue to suffer, significant damages

in an amount to be determined at trial.

      ANSWER: Defendants deny the allegations of paragraph 61 of the

      Complaint.

      62.    Defendants’ actions have caused and — unless enjoined by this Court

— will continue to cause irreparable injury to Plaintiff for which Plaintiff has no

adequate remedy at law. Plaintiff is therefore entitled to injunctive relief

enjoining and restraining Defendants from use of Plaintiff’s Marks or any mark

that is confusingly similar thereto.

     COUNT III: UNFAIR COMPETITION

      63.    Plaintiff realleges each and every allegation set forth in the

preceding paragraphs as if more fully set forth herein.



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      ANSWER: Defendants repeat, and fully incorporate by reference,

      their answers to paragraphs 1 through 62 of the Complaint.

      64.    With knowledge and/or constructive knowledge of Plaintiff’s

exclusive rights to the RFC Marks, Defendants intended to and did

misappropriate Plaintiff’s labors and expenditures in creating such marks and

Plaintiff’s investment in and exclusive use of the marks by facilitating the

distribution of goods and services for Defendant’s own financial gain.

     ANSWER: Defendants deny the allegations of paragraph 64 of the

Complaint.

      65.    Defendants’ use of the RFC Marks without Plaintiff’s consent is likely

to cause confusion, deception, and mistake among the consuming public and

industry as to the source, approval or sponsorship of goods, services and

commercial activities. Accordingly, Defendants have engaged in unfair

competition in violation of New York common law.

      ANSWER: Defendants deny the allegations of paragraph 65 of the

      Complaint.

      66.    Defendants engaged in these acts with bad faith and intent to profit

from the name, goodwill, and strong brand recognition associated with Plaintiff

and its marks.

      ANSWER: Defendants deny the allegations of paragraph 66 of the

      Complaint.

      67.    As a direct and proximate result of the foregoing acts, Plaintiff has


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 been damaged and has suffered, and will continue to suffer, significant damages

 in an amount to be determined at trial.

        ANSWER: Defendants deny the allegations of paragraph 67 of the

        Complaint.

        68.    Defendants’ conduct was knowing, intentional, and in reckless

 disregard of Plaintiff’s exclusive rights in its marks. Pursuant to New York

 common law, Plaintiff is therefore entitled to an award of punitive damages in an

 amount to be determined at trial.

        ANSWER: Defendants deny the allegations of paragraph 68 of the

        Complaint.

        69.    Plaintiff is also entitled to injunctive relief enjoining and restraining

 Defendants and all persons acting in concert with Defendants from use of

 Plaintiff’s Marks or any other marks that are confusingly similar thereto.

        ANSWER: Defendants deny the allegations of paragraph 69 of the

        Complaint.

GENERAL DENIAL

Defendants deny each factual allegation in the Complaint that is not specifically

admitted or otherwise addressed in the preceding paragraphs and demands strict proof

thereof.

ANSWER TO PLAINTIFF’S REQUEST FOR RELIEF

Defendants deny that Plaintiff is entitled to the judgment and relief prayed for in

paragraphs 1, 2, 3, 4, 4a, 4b, 4c, 4d, 4e, 4f, 4g, 4h, 4i, 4j, 4k, 5, 6, 7, 8, 9, 10, and 11 of

the Prayer for Relief of the Complaint.

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AFFIRMATIVE AND OTHER DEFENSES

Defendant states the following affirmative and other defenses:


   Failure to State a Claim. The Complaint fails to state a claim upon which relief

   can be granted. Plaintiff has not sufficiently alleged facts to establish the elements

   of trademark infringement, unfair competition, or any other cause of action under

   the Lanham Act or New York common law.


   Lack of Standing: The plaintiff does not have the legal right to bring the lawsuit.


   Statute of Limitations. The plaintiff's lawsuit is barred because it was not filed

   within the legally prescribed time limit.


   No Likelihood of Confusion. Plaintiff cannot establish a likelihood of confusion,

   which is a necessary element of its trademark infringement claim under the Lanham

   Act. Defendant’s use of the trademarks does not mislead or confuse consumers as to

   the source, sponsorship, or affiliation of the goods or services.


   Abandonment. Plaintiff has abandoned any rights it may have had in the

   trademarks by failing to exercise control over their use.


   Unclean Hands. Plaintiff’s claims are barred by the doctrine of unclean hands due

   to its inequitable conduct, including any misrepresentation, concealment, or bad

   faith actions related to the trademarks or the business relationship between the

   parties.

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Laches. Plaintiff’s claims are barred by the doctrine of laches due to its

unreasonable delay in asserting its rights, which has prejudiced Defendant.

Plaintiff’s delay in bringing this action has allowed Defendant to invest time, money,

and resources in the use of the trademarks.


Estoppel. Plaintiff is estopped from asserting its claims due to its prior conduct,

representations, or omissions, which led Defendant to reasonably rely on the belief

that Plaintiff had no objection to Defendant’s use of the trademarks.


Acquiescence. Plaintiff’s claims are barred by the doctrine of acquiescence because

Plaintiff knowingly allowed Defendant to use the trademarks without objection for

an extended period, thereby consenting to such use.


Failure to Mitigate Damages. Plaintiff has failed to mitigate its damages, if any,

by not taking reasonable steps to address the alleged trademark issues in a timely

manner.


Injury to Business Reputation or Dilution Not Established. Plaintiff has

failed to demonstrate any likelihood of injury to business reputation or dilution of

the distinctive quality of its marks, as required under New York General Business

Law § 360-L.




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  No Damages. Plaintiff has not suffered any actual damages as a result of

  Defendant’s actions. Plaintiff’s claims for relief are speculative and unsupported by

  evidence.


  Non-Infringement: The defendant's actions do not constitute trademark

  infringement.


  Priority of Use: The defendant has prior use of the trademark, which takes

  precedence over the plaintiff's claim.


AFFIRMATIVE AND OTHER DEFENSES BASED ON THE VIDEOAPP INC. JOINT
VENTURE AGREEMENT

  The Joint Venture Agreement. Defendant, Dark Alley Media, LLC (“DAM”), and

  non-party VideoApp Inc. entered into a written joint venture agreement (the “JV

  Agreement”) to memorialize their ongoing business relationship which had been

  ongoing for approximately ten years at such time. The Agreement established a joint

  venture for the purpose of marketing and selling pay-per-view videos produced by

  DAM on a website maintained and/or administered by VideoApp Inc.


  Ownership of Trademarks. The Agreement explicitly states that the trademarks

  affixed to the videos and the websites that marketed and sold the views of the videos

  through the joint venture, which consist of the identical marks alleged in the

  Complaint (the “RFC Marks”) were the property of the joint venture itself. The

  Agreement further provided that, in the event of a breach by VideoApp Inc. resulting



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in termination of the Agreement, all rights to the RFC Marks would transfer to

DAM.


Affiliation Between Plaintiff and VideoApp Inc. Plaintiff Svothi is an affiliate

of VideoApp Inc., as evidenced by their shared address, shared attorney, shared

ownership, use of the same d/b/a, similar website evidencing the same control and

function, and the fact that Plaintiff was the payor on checks to DAM pursuant to

profit shares due DAM from the proceeds of the exploitation of DAM’s videos on the

websites under the Agreement. Despite this close affiliation, Plaintiff was not a

party to the Agreement, nor was it identified as having any independent rights to

the RFC Marks.


Termination of the Joint Venture. Following a dispute between the parties,

VideoApp Inc., through letters sent by Plaintiff’s attorney, purported to terminate

the Agreement, alleging breach by DAM. DAM, in turn, alleged breach by VideoApp

Inc. and also terminated the Agreement. DAM subsequently initiated arbitration

proceedings against VideoApp Inc. in accordance with the Agreement’s arbitration

clause in order to obtain payment due it from VideoApp Inc. and to establish that

the termination of the Agreement was due to VideoApp Inc.’s breach and a ruling

that therefor DAM is the owner the RFC Marks.


Plaintiff’s Claims. Plaintiff filed this action, asserting ownership of the

trademarks and alleging trademark infringement and unfair competition under the

Lanham Act and New York common law. Plaintiff’s claims are inconsistent with the

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terms of the Agreement, which govern the ownership and use of the RFC Marks,

and with Plaintiff’s role as an affiliate of VideoApp Inc.


Defendant’s Position. Defendant contends that Plaintiff is either the alter ego of

VideoApp Inc. or a co-party in interest with VideoApp Inc. and is therefore bound by

the terms of the Agreement, including the arbitration clause and the provisions

regarding RFC Marks ownership.


Lack of Standing. Plaintiff lacks standing to bring this action because the

Agreement identifies VideoApp Inc. as the party to the joint venture and the owner

of the RFC Marks. Plaintiff, as an affiliate of VideoApp Inc., has no independent

legal interest in the trademarks and cannot assert claims based on them.


Alter Ego Doctrine. Plaintiff is the alter ego of VideoApp Inc., as evidenced by

their shared address, shared attorney, shared ownership, use of the same d/b/a,

similar website evidencing the same control and function, and the fact that Plaintiff

was the payor on checks to DAM under profit shares due DAM from the proceeds of

the exploitation of DAM’s videos on the websites under the Agreement. As such,

Plaintiff is bound by the terms of the Agreement, including the arbitration clause

and the provisions regarding the RFC Marks ownership.


Estoppel. Plaintiff is estopped from asserting ownership of the trademarks because

the Agreement explicitly states that the RFC Marks were the property of the joint




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venture. Plaintiff, as an affiliate of VideoApp Inc., cannot now contradict the terms

of the Agreement.


Waiver. Plaintiff has waived any claim to common-law trademark rights to the RFC

Marks by failing to assert such rights during the 15-year-long joint venture and by

accepting the terms of the Agreement through its affiliation with VideoApp Inc.


Arbitration and Forum Selection. Plaintiff’s claims are subject to mandatory

arbitration under the Agreement, which requires disputes to be resolved in

arbitration in New York City. As an alter ego or affiliate of VideoApp Inc., Plaintiff

is bound by this arbitration clause.


Unclean Hands. Plaintiff’s claims are barred by the doctrine of unclean hands due

to its misrepresentation or concealment of its role in the joint venture and its

attempt to circumvent the terms of the Agreement by asserting ownership of the

RFC Marks.


Fraud or Misrepresentation. Plaintiff, through its affiliation with VideoApp Inc.,

engaged in fraud or misrepresentation by inducing Defendant to enter into the

Agreement under the belief that VideoApp Inc. was the sole party in interest, while

concealing Plaintiff’s alleged role as the operator of the website before and during

the term of the joint venture and the Agreement.




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Failure to State a Claim. The Complaint fails to state a claim upon which relief

can be granted because the Agreement governs the ownership of the RFC Marks,

and Plaintiff has no independent rights outside of that Agreement.

Preemption by Contract. The Agreement preempts any common-law claims to

the RFC Marks, as the Agreement explicitly governs the ownership and use of the

RFC Marks.

Laches. Plaintiff’s claims are barred by laches due to its delay in asserting

ownership of the RFC Marks, which has prejudiced Defendant by allowing the joint

venture to operate for approximately 15 years under the terms of the Agreement.


Ownership by Defendant. Under the terms of the Agreement, Defendant is the

rightful owner of the RFC Marks due to the alleged breach by VideoApp Inc., which

triggered the provision transferring ownership of the RFC Marks to Defendant.


No Likelihood of Confusion. There is no likelihood of confusion under the

Lanham Act because Defendant’s use of the RFC Marks is consistent with the terms

of the Agreement and does not mislead consumers.


Good Faith Use. Defendant’s use of the trademarks was in good faith and in

accordance with the Agreement, precluding any claim of unfair competition or

infringement.




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   Failure to Mitigate Damages. Plaintiff failed to mitigate its damages, if any, by

   not addressing the alleged trademark issues during the operation of the joint

   venture of which it had knowledge at all times.


   Preclusion by Arbitration. Any determination made in the pending arbitration

   between VideoApp Inc. and Defendant will bind Plaintiff, as it is an alter ego or

   affiliate of VideoApp Inc., and preclude Plaintiff’s claims in federal court.


   Stay on Account of Arbitration Agreement. The pending arbitration between

   VideoApp Inc. and Defendant will bind Plaintiff, as it is an alter ego or affiliate of

   VideoApp Inc., and preclude Plaintiff’s claims in federal court. Accordingly, this

   proceeding should be stayed pending the outcome of the pending aritration.


   Reservation of Rights. Defendants reserve their right to amend or supplement

   these defenses as discovery progresses.

COUNTERCLAIMS

Defendant/Counterclaim Plaintiff, Dark Alley Media, LLC (“DAM”), by and through its

attorneys, asserts this Counterclaim against Counterclaim Defendant Svothi, Inc.

(“Svothi”) for its fraudulent, deceptive, and bad-faith conduct, which has caused

significant harm to DAM.




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NATURE OF THE ACTION


 1.   This Counterclaim arises from Svothi’s improper and bad faith attempt to claim

      ownership of the RFC Marks, which were created, developed, and used in

      commerce by DAM for over 17 years.


 2.   DAM brings this counterclaim to protect the substantial goodwill that it has

      developed over 17 years in its distinctive RFC Marks. Due to this lengthy use

      and DAM's substantial investment in advertising and promotion, DAM’s

      trademark has gained a reputation as being a source of high-quality adult videos.


 3.   The goodwill and reputation for quality that DAM has worked so hard to

      cultivate has been threatened by Defendant's actions. Since termination of the

      JVA due to VideoApp’s breach of the JVA, VideoApp, by an through Counterclaim

      Defendant has used and continues to use DAM’s RFC Marks, and Counterclaim

      Defendant has used and continues to use DAM’s RFC Mark to sell competing

      goods to many of the same consumers served by DAM. Unless Counterclaim

      Defendant and VideoApp are enjoined from using the RFC Marks, such use will

      continue to cause consumer confusion and will cause irreparable harm to

      Plaintiff.


 4.   This action seeks injunctive relief, damages, and other appropriate relief arising

      from Counterclaim Defendant's willful acts of trademark infringement and

      unfair competition in concert with and for the purpose of aiding and abetting

      VideoApp in depriving DAM of its valuable marks and income.


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 5.   Svothi’s actions, including its misrepresentations, fraudulent conduct, and

      breach of contractual obligations, have caused severe financial and reputational

      harm to DAM, threatening its survival.


 6.   Counterclaim Plaintiff seeks relief under federal and New York state law,

      including claims for fraud, breach of contract, unjust enrichment, tortious

      interference with contractual relations, and declaratory judgment regarding the

      ownership of the RFC Marks.

 7.   Counterclaim Defendant’s conduct has caused significant harm to Counterclaim

      Plaintiff, including financial losses, reputational damage, and interference with

      its business operations.


PARTIES


 4.   Counterclaim Plaintiff Dark Alley Media, LLC is a New York limited liability

      company and is a media company specializing in the production and distribution

      of adult content.


 5.   Counterclaim Defendant Svothi, Inc. is a New York corporation with its principal

      place of business in New York, New York.

 6.   Counterclaim Defendant is an affiliate of VideoApp, Inc. (“VideoApp”), a Nevis

      corporation.

 7.   Counterclaim Defendant shares the same address, ownership, and attorney as

      VideoApp.




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JURISDICTION AND VENUE


 8.   This Court has jurisdiction over this action under 28 U.S.C. § 1331, as the claims

      arise under federal law, including the Lanham Act, 15 U.S.C. § 1125.

 9.   This action also includes claims under New York State law for trademark

      infringement and unfair competition.

 10. This Court has supplemental jurisdiction over the state law claims under 28

      U.S.C. § 1367.

 11. This Court has personal jurisdiction over Counterclaim Defendant. Counterclaim

      Defendant’s acts of infringement of Plaintiff's mark were committed in New York

      State within the jurisdiction of this Court. Counterclaim Defendant has

      advertised its offerings and websites under the infringing mark in this state and

      has transacted business by selling licensing videos bearing DAM’s RFC Marks to

      other website channels that make such videos available to consumers. Defendant

      has engaged in substantial activity within New York State and this judicial

      district and has had substantial contacts there, having purposefully availed itself

      of the privilege of conducting activities in the forum. Defendant has caused injury

      to DAM within New York State and within this judicial district.

 12. Venue is proper in this District under 28 U.S.C. § 1391 because the events giving

      rise to the claims occurred in this District.

 13. Venue is also proper because the parties agreed to arbitrate disputes in New

      York, New York.




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FACTUAL BACKGROUND


 12. DAM was founded in 2005 and has since become a recognized leader in the adult

     content industry, with a library of over 300 titles and numerous awards.


 13. In 2007, DAM created the RFC Marks, including the domain name

     rawfuckclub.com, which DAM has continuously used in commerce since August

     2007.


 14. DAM’s prior use of the trademark takes precedence over Counterclaim

     Defendant's claim that it acquired common-law rights to the RF Marks in 2010.


 15. On January 1, 2019, DAM and VideoApp, also known as PPVNetworks, entered

     into a Joint Venture Agreement (the “JVA”) to operate an adult video website

     under the brand “Raw Fuck Club” and the associated trademarks “RFC” and

     “Raw Fuck Club” (collectively, the “RFC Marks”).

 16. The JVA explicitly stated that the RFC Marks and associated domain names

     were the property of the joint venture (the “JV”).

 17. The JVA further stated that any goodwill derived from the use of the RFC Marks

     would inure to the benefit of the JV.

 18. DAM contributed original video content, industry expertise, and performer

     connections to the JV.

 19. VideoApp provided website hosting, billing, and customer service for the JV.

 20. The JVA included provisions governing the ownership of the RFC Marks upon

     termination of the agreement.


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21. The JVA specified that if VideoApp breached the agreement, all rights to the RFC

    Marks would belong to DAM.

22. Counterclaim Defendant Svothi, Inc., an affiliate of VideoApp, was deeply

    involved in the JV’s operations.

23. Counterclaim Defendant Svothi, Inc., holds itself out via the dba of

    PPVNetworks.

24. Counterclaim Defendant issued payments to DAM and acted as the payor on

    checks resulting from proceeds from the exploitation of DAM’s videos as set forth

    in the JVA.

25. Counterclaim Defendant issued payments to DAM and acted as the payor on

    checks resulting from proceeds from the exploitation of the JV’s videos as set

    forth in the JVA.

26. At all relevant times herein, Counterclaim Defendant was involved with the

    functioning of the activities of the JV.

27. At all relevant times herein, Counterclaim Defendant was aware of some or all

    of the activities of the JV.

28. At all relevant times herein, Counterclaim Defendant was aware of the JVA.

29. At all relevant times herein, Counterclaim Defendant was affiliated with

    VideoApp.

30. At all relevant times herein, Counterclaim Defendant was the principal of

    VideoApp.




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31. At all relevant times herein, VideoApp was the nominee of Counterclaim

    Defendant.

32. At all relevant times herein, Damian Todaro controlled VideoApp, Inc.

33. At all relevant times herein, Damian Todaro directed VideoApp, Inc.

34. At all relevant times herein, Damian Todaro was the chief executive officer of

    VideoApp, Inc.

35. At all relevant times herein, Damian Todaro was the majority owner of

    VideoApp, Inc.

36. At all relevant times herein, Damian Todaro controlled Counterclaim Defendant.

37. At all relevant times herein, Damian Todaro directed Counterclaim Defendant.

38. At all relevant times herein, Damian Todaro was the chief executive officer of

    Counterclaim Defendant.

39. At all relevant times herein, Damian Todaro was the majority owner of

    Counterclaim Defendant.

40. Counterclaim Defendant is the parent company of VideoApp, Inc.

41. Counterclaim Defendant is alter ego of VideoApp, Inc.

42. PPVNetworks is the dba of Counterclaim Defendant.

43. PPVNetworks is the dba of VideoApp. Inc.

44. Counterclaim Defendant claims it obtained common-law rights to the RFC Marks

    by operating a website operated under the RFC Marks.

45. Counterclaim Defendant’s claim is in direct contradiction to the terms of the JVA.



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  46. Alternatively Video App and Counterclaim Defendant simultaneously operated

      the JVA websites.

  47. The JVA governs the ownership and use of certain intellectual property,

      including the RFC Marks, and includes a binding arbitration clause.


COUNTERCLAIMS


COUNT I: Declaratory Judgment (15 U.S.C. § 1125 and 28 U.S.C. § 2201)
  26. Counterclaim Plaintiff realleges and incorporates by reference all preceding

      paragraphs of the Counterclaims.

  27. An actual controversy exists regarding the ownership of the RFC Marks.

  28. Counterclaim Plaintiff seeks a declaratory judgment that DAM is the rightful

      owner of the RFC Marks under the JVA.

  29. Counterclaim Plaintiff further seeks a declaratory judgment that Counterclaim

      Defendant has no rights to the RFC Marks.


COUNT II: Breach of Contract (New York State Law)


  30. Counterclaim Plaintiff realleges and incorporates by reference all preceding

      paragraphs of the Counterclaims.

  31. The JVA is a valid and enforceable contract.

  32. Counterclaim Defendant, as an affiliate or the alter ego of VideoApp, breached

      the JVA by asserting ownership of the RFC Marks.

  33. Counterclaim Defendant further breached the JVA by interfering with DAM’s

      rights under the agreement.

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  34. As a result of the breach, Counterclaim Plaintiff has suffered damages.

  35. DAM’s damages include lost revenue and harm to its business reputation.


COUNT III: Fraudulent Misrepresentation (New York State Law)


  36. Counterclaim Plaintiff realleges and incorporates by reference all preceding

      paragraphs of the Counterclaims.

  37. Counterclaim Defendant and VideoApp, through their owner Damian Todaro,

      knowingly made false representations in the JVA.

  38. These false representations included that the RFC Marks were the property of

      the JV.

  39. Specifically, the untrue statements were made by Counterclaim Defendant and

      Damian Todaro when Mr. Todaro, on behalf of VideoApp, prior to the execution

      of the JVA worked on with and approved the language of such and which was

      included in the signed JVA which stated:

           The parties acknowledge and agree the JV is the owner of the
           Domains, listed in Appendix B, and Brands throughout the
           world. Any goodwill derived from the use [of] and license of the
           Domains and the Brands shall inure to the benefit of the JV. If
           any license[e]
           acquires any rights in the Domains and the Brands, by operation
           of law, or otherwise, such rights shall be deemed and are hereby
           irrevocably assigned to the JV without further action by any of
           the parties.

           ...

           Both parties agree that they shall not, during the Term or
           thereafter, directly or indirectly:

           I. do, omit to do, or permit to be done, any act which will or may
           dilute the Domains and the Brands or tarnish or bring into

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    disrepute the reputation of or goodwill associated with the
    Domains and the Brands, or the other party, or which will or
    may invalidate or jeopardize any registration or registrability of
    the Domains and
    the Brands; or

    II.      apply for, or obtain, or assist any person in applying for
    or obtaining any
    registration or any trademark, service mark, trader name or
    other [indicia]
    confusingly similar to the Domains and the Brands in any
    country.

    ...

    Although the Domains shall be registered and managed by
    PPVNetworks during the Term hereof, the Domains (in addition
    to the Brands) shall be solely owned by the JV

    ...

    PPVNetworks shall immediately notify DAM in writing giving
    reasonable detail if any of the following matters come to its
    attention:

    I. any actual, suspected or threatened infringement of the
    Domains and Brands;

    II.   any actual, suspected or threatened claim that the
    Domains and Brands is invalid;

    III.  any actual, suspected or threatened opposition to the
    Domains and Brands;

    IV.   any actual, suspected or threatened claim that use of the
    Domains and Brands infringes the rights of any third party:

    V.     any person applies for, or is granted, a registered
    trademark by reason of which that person may be, or has been,
    granted rights which conflict with any of the rights granted to
    PPVNetworks under this Agreement; or

    VI.    any other actual, suspected or threatened claim to which
    the Domains and Brands may be subject.


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        ...

        PPVNetworks will operate a channels-based membership site at
        one or more of the aforementioned Domains. PPVNetworks will
        handle all aspects of Site operations, with the exception of
        original content production, including but not limited to hosting;
        software development and updates; cloud infrastructure
        architecture; registrar and domain management, management
        and protection: customer service: technical support:
        independent producer management; marketing operations using
        newsletters and twitter; cascaded payment processing;
        DoS/DDoS threat mitigation;

        ...

        Both parties represent and warrant to each other that it has
        been duly incorporated and is validly existing as a corporation
        under the laws of its government jurisdiction; it has the right to
        enter into this Agreement and perform its obligations;

40. Counterclaim Defendant intended to induce DAM to enter into the JVA based on

    these false representations.

41. DAM reasonably relied on these representations to its detriment.

42. The truth was that neither Counterclaim Defendant nor its principal, Damian

    Todaro, had any intention of honoring such statements.

43. The truth was neither Video App nor its principal, Damian Todaro, instead

    planned to have Mr. Todaro’s other company, Counterclaim Defendant, operate

    the website at the various domains as specifically alleged by Counterclaim

    Defendant.

44. All resulting in Counterclaim Defendant having made the claims resulting from

    the fraud of its principal and Videoapp against Defendants including DAM in the

    Complaint.


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 45. As a result, DAM has suffered significant damages.

 46. DAM’s damages include loss of ownership rights to the RFC Marks.


COUNT IV: Unjust Enrichment (New York State Law)


 43. Counterclaim Plaintiff realleges and incorporates by reference all preceding

     paragraphs of the Counterclaims.

 44. Counterclaim Defendant has been unjustly enriched by its wrongful assertion of

     ownership over the RFC Marks.

 45. Counterclaim Defendant has also been unjustly enriched by its use of DAM’s

     content without proper compensation.

 46. Equity and good conscience require restitution to Counterclaim Plaintiff.


COUNT V: Breach of Fiduciary Duty (New York State Law)


 47. Counterclaim Plaintiff realleges and incorporates by reference all preceding

     paragraphs of the Counterclaims.

 48. As a joint venture partner, Counterclaim Defendant owed fiduciary duties to

     DAM.

 49. These duties included duties of loyalty and good faith.

 50. Counterclaim Defendant breached these duties by asserting ownership of the

     RFC Marks.

 51. Counterclaim Defendant further breached these duties by interfering with

     DAM’s rights under the JVA.

 52. As a result, DAM has suffered damages.

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COUNT VI: Conversion (New York State Law)


  53. Counterclaim Plaintiff realleges and incorporates by reference all preceding

      paragraphs of the Counterclaims.

  54. Counterclaim Defendant wrongfully exercised control over the RFC Marks.

  55. Counterclaim Defendant also wrongfully exercised control over DAM’s content.

  56. Counterclaim Defendant’s actions deprived DAM of its rightful ownership and

      use of the RFC Marks and content.

  57. As a result, DAM has suffered damages.


COUNT VII: Trademark Dilution (15 U.S.C. § 1125(c) & N.Y. Gen. Bus. Law § 360-L)


  58. Counterclaim Plaintiff realleges and incorporates by reference all preceding

      paragraphs of the Counterclaims.

  59. Counterclaim Defendant’s unauthorized use of the RFC Marks has diluted their

      distinctiveness.

  60. Counterclaim Defendant’s actions have harmed the reputation of the RFC

      Marks.

  61. Counterclaim Plaintiff seeks injunctive relief and damages.


COUNT VIII: Rescission of the Joint Venture Agreement (New York State Law)


  62. Counterclaim Plaintiff realleges and incorporates by reference all preceding

      paragraphs of the Counterclaims.

  63. Counterclaim Defendant’s fraudulent conduct in inducing DAM to enter into the

      JVA is grounds for rescission.

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 64. DAM seeks rescission of the JVA and restitution for all damages suffered.

 65. DAM’s prior use of the trademark survives the rescission of the JVA.


 66. DAM’s prior use of the trademark takes precedence over Counterclaim

     Defendant's claim that it acquired common-law rights to the RF Marks in 2010.


 67. precedence over Counterclaim Defendant's claim that it acquired common-law

     rights to the RF Marks in 2010.


COUNT IX: Enforcement of Section 12.4 of the Joint Venture Agreement


 65. Counterclaim Plaintiff realleges and incorporates by reference all preceding

     paragraphs of the Counterclaims.

 66. Under Section 12.4 of the JVA, DAM is entitled to all digital assets, metadata,

     source video, encoded stream files, and customer database tables upon

     termination due to VideoApp’s breach.

 67. DAM seeks enforcement of these provisions.


COUNT X: Accounting (New York State Law)


 68. Counterclaim Plaintiff realleges and incorporates by reference all preceding

     paragraphs of the Counterclaims.

 69. Counterclaim Defendant has failed to provide an accounting of revenues and

     profits generated from the use of the RFC Marks and DAM’s content.

 70. DAM seeks an accounting to determine the full extent of its damages.




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COUNT XI: Alter Ego Liability


  76. Counterclaim Plaintiff realleges and incorporates by reference all preceding

     paragraphs of the Counterclaims.

  77. Counterclaim Defendant Svothi, Inc. is an affiliate of VideoApp, Inc., a Nevis

     corporation, and shares the same address, ownership, and attorney as VideoApp.

  78. Counterclaim Defendant Svothi, Inc. was deeply involved in the operations of the

     joint venture, including issuing payments to Counterclaim Plaintiff and acting as

     the payor on checks resulting from the activities of VideoApp under the Joint

     Venture Agreement.

  79. Counterclaim Defendant Svothi, Inc. asserts ownership of the RFC Marks, despite

     the terms of the Joint Venture Agreement, in direct contradiction to the rights of

     Counterclaim Plaintiff.

  80. Counterclaim Defendant Svothi, Inc. and VideoApp, Inc. have failed to maintain

     separate corporate identities, including, but not limited to, as evidenced by their

     shared address, ownership, and attorney.

  81. Counterclaim Defendant Svothi, Inc. and VideoApp, Inc. have commingled their

     operations and resources, creating a unity of interest and ownership such that

     they are not truly separate entities.

  82. Counterclaim Defendant Svothi, Inc. has used its corporate structure to

     perpetrate a fraud or injustice against Counterclaim Plaintiff by asserting

     ownership of the RFC Marks and interfering with Counterclaim Plaintiff’s rights

     under the Joint Venture Agreement.

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83. Counterclaim Defendant Svothi, Inc.’s actions have caused significant harm to

   Counterclaim Plaintiff, including financial losses, reputational damage, and

   interference with its ability to monetize its content and trademarks.

84. Counterclaim Plaintiff seeks to pierce the corporate veil and hold Counterclaim

   Defendant Svothi, Inc. liable for the actions and obligations of VideoApp, Inc., as

   they are alter egos of one another.

COUNT XIII: Trademark Infringement Under The Lanham Act 15 U.S.C. § 1125(A)


85. Counterclaim Plaintiff realleges and incorporates by reference all preceding

   paragraphs of the Counterclaims.

86. DAM has priority of rights in the RFC Marks.

87. Counterclaim Defendant is intentionally and willfully, or acting with willful

   blindness, using DAM’s RFC Marks in connection with Counterclaim

   Defendant’s adult websites, social media accounts, and other media

   businesses, for Counterclaim Defendant’s financial gain.

88. Counterclaim Defendant’s use of the RFC Marks without DAM’s consent

   constitutes trademark infringement in violation of 15 U.S.C. § 1125, in that,

   among other things, such use is likely to cause confusion, deception, and

   mistake among the consuming public and industry as to the origin, approval

   or sponsorship of goods, services and commercial activities.




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 89. As a direct and proximate result of the foregoing acts, DAM has been

    damaged and has suffered, and will continue to suffer, significant damages,

    in an amount to be determined at trial.

 90. Counterclaim Defendant’s actions have caused and — unless enjoined by this

    Court — will continue to cause irreparable injury to DAM for which DAM has

    no adequate remedy at law. DAM is therefore entitled to injunctive relief

    enjoining and restraining Counterclaim Defendant from use of the RFC

    Marks or any mark that is confusingly similar thereto.

 Count XIV: Trademark Infringement Under New York Common Law

91. Counterclaim Plaintiff realleges and incorporates by reference all preceding

   paragraphs of the Counterclaims.

      92.    Counterclaim Defendant is intentionally and willfully, or acting with

willful blindness, using DAM’s RFC Marks in connection with Counterclaim

Defendant’s adult websites, social media accounts, and other media businesses,

for Counterclaim Defendant’s financial gain.

      93.    Counterclaim Defendant’s use of the RFC Marks without DAM’s

consent constitutes trademark infringement in violation of New York common

law in that, among other things, such use is likely to cause confusion, deception,

and mistake among the consuming public and industry as to the source, approval

or sponsorship of goods, services and commercial activities.




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      94.    As a direct and proximate result of the foregoing acts, DAM has been

damaged and has suffered, and will continue to suffer, significant damages in an

amount to be determined at trial.

      95.    Counterclaim Defendant’s actions have caused and — unless

enjoined by this Court — will continue to cause irreparable injury to DAM for

which DAM has no adequate remedy at law. DAM is therefore entitled to

injunctive relief enjoining and restraining Counterclaim Defendant from use of

DAM’s Marks or any mark that is confusingly similar thereto.

COUNT XV: Unfair Competition

      96.    Counterclaim Plaintiff realleges and incorporates by reference all

preceding paragraphs of the Counterclaims.

      97.    With knowledge and/or constructive knowledge of DAM’s exclusive

rights to the RFC Marks, Counterclaim Defendant intended to and did

misappropriate DAM’s labors and expenditures in creating such marks and

DAM’s investment in and exclusive use of the marks by facilitating the distribution

of goods and services for Defendant’s own financial gain.

      98.    Counterclaim Defendant’s use of the RFC Marks without DAM’s

consent is likely to cause confusion, deception, and mistake among the consuming

public and industry as to the source, approval or sponsorship of goods, services

and commercial activities. Accordingly, Counterclaim Defendant have engaged in

unfair competition in violation of New York common law.

      99.    Counterclaim Defendant engaged in these acts with bad faith and

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 intent to profit from the name, goodwill, and strong brand recognition associated

 with DAM and its marks.

        100.    As a direct and proximate result of the foregoing acts, DAM has been

 damaged and has suffered, and will continue to suffer, significant damages in an

 amount to be determined at trial.

        101.    Counterclaim Defendant’s conduct is and was knowing, intentional,

 and in reckless disregard of DAM’s exclusive rights in its marks. Pursuant to New

 York common law, DAM is therefore entitled to an award of punitive damages in

 an amount to be determined at trial.

        102.    DAM is also entitled to injunctive relief enjoining and restraining

 Counterclaim Defendant and all persons acting in concert with Counterclaim

 Defendant from use of DAM’s Marks or any other marks that are confusingly

 similar thereto.


RELIEF REQUESTED


WHEREFORE, Counterclaim Plaintiff respectfully requests that this Court:

  1.   Declare that DAM is the rightful owner of the RFC Marks under 28 U.S.C. § 2201

       and 15 U.S.C. § 1125.

  2.   Declare that Counterclaim Defendant Svothi, Inc. and VideoApp, Inc. are alter

       egos of one another.

  3.   Pierce the corporate veil and hold Counterclaim Defendant Svothi, Inc. liable for

       the actions and obligations of VideoApp, Inc. under the Joint Venture Agreement.



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4.   Award damages to Counterclaim Plaintiff for the harm caused by Counterclaim

     Defendant Svothi, Inc.’s fraudulent and bad-faith conduct.

5.   Awarding Counterclaim Plaintiff compensatory damages in an amount to be

     determined at trial.

6.   Awarding Counterclaim Plaintiff punitive damages in an amount sufficient to

     deter Counterclaim Defendant Svothi, Inc. and others from engaging in similar

     conduct in the future.

7.   Award damages to Counterclaim Plaintiff for breach of contract, fraudulent

     misrepresentation, unjust enrichment, breach of fiduciary duty, and conversion.

8.   Rescind the JVA and award restitution to Counterclaim Plaintiff.

9.   Enforce Section 12.4 of the JVA and order Counterclaim Defendant to provide all

     digital assets, metadata, source video, encoded stream files, and customer

     database tables to DAM.


10. For an award of actual damages, enhanced discretionary damages, and

     treble damages in an amount to be determined at trial for Counterclaim

     Defendant’s willful violations of the Lanham Act, 15 U.S.C. §§ 1051 et seq.;


11. In the alternative to actual damages, for statutory damages pursuant to the

     Lanham Act, as the Court considers just, and/or as Counterclaim Plaintiff

     may elect prior to final judgment;

12. For an award of damages to be proven at trial for trademark infringement

     and unfair competition under New York common law;



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13. For a temporary, preliminary and permanent injunction by this Court

   enjoining and prohibiting Counterclaim Defendant, or its agents, and any

   employees, agents, servants, officers, representatives, directors, attorneys,

   successors, affiliates, assigns and entities owned or controlled by

   Counterclaim Defendant, and all those in active concert or participation

   with Counterclaim Defendant, and each of them who receives notice directly

   or indirectly of such injunction from:

     a.   advertising, marketing, promoting, distributing, displaying, offering

          for sale, selling, operating, and/or otherwise dealing in infringing

          goods, services, or businesses;

     b.   using Counterclaim Plaintiff’s trademarks or other rights (whether

          now in existence or hereafter created) including, without limitation,

          the RFC Marks, to identify any goods, services or businesses not

          authorized by Counterclaim Plaintiff;

     c.   using any of Counterclaim Plaintiff’s trademarks or other rights

          (whether now in existence or hereafter created) including, without

          limitation, the RFC Marks, or any other marks that are confusingly

          or substantially similar to the RFC Marks, on or in connection with

          Counterclaim        Defendant’s       advertising,       marketing,     promoting,

          distributing, displaying, offering for sale, selling, operating and/or

          otherwise dealing in goods and services, or engaging in business, not

          authorized by Counterclaim Plaintiff;

     d.   engaging in any action which is likely to cause confusion or cause

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      mistake and/or to deceive members of the public as to the affiliation,

      connection or association of any goods, services or businesses

      advertised, marketed, promoted, distributed, displayed, operated,

      offered for sale or sold by Counterclaim Defendant with Counterclaim

      Plaintiff, and/or as to the origin, sponsorship or approval of any

      product, service or business advertised, marketed, promoted,

      distributed, displayed, operated, offered for sale or sold by

      Counterclaim Defendant with Counterclaim Plaintiff;

 e.   engaging in the unlawful, unfair or fraudulent business acts or

      practices, including, without limitation, the actions described herein,

      including the advertising, promotion, marketing, operating and/or

      dealing in any infringing products, services or businesses;

 f.   engaging in any other actions that constitute unfair competition with

      Counterclaim Plaintiff;

 g.   secreting, destroying, altering, removing, or otherwise dealing with

      infringing goods or services, or any books or records that contain any

      information relating advertising, marketing, promoting, distributing,

      displaying, operating, offering for sale, selling and/or otherwise

      dealing in infringing goods, services, businesses or domain names

      identical and/or confusingly similar to the RFC Marks;

 h.   from     secreting,     concealing,      destroying,      altering,     selling   off,

      transferring or otherwise disposing of and/or dealing any computer

      files, data, business records, documents or any other records or

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          evidence relating to Counterclaim Defendant’s businesses or any

          money, securities or other property or assets of Counterclaim

          Defendant (whether said assets are located in the U.S. or abroad)

          (“Counterclaim Defendant’s Assets”) from or to financial accounts

          associated with or utilized by Counterclaim Defendant in the

          advertising, marketing, promotion, operation, distribution, display,

          offering for sale and/or sale of infringing products, services or

          businesses;

     i.   from secreting, concealing, transferring, disposing of, withdrawing,

          encumbering or paying any of Counterclaim Defendant’s Assets from

          any financial account until further ordered by this Court;

     j.   effecting    assignments        or   transfers,     forming      new    entities   or

          associations, or utilizing any other device for the purpose of

          circumventing or otherwise avoiding the prohibitions set forth in any

          final judgment or order in this action;

     k.   instructing, aiding or abetting any other person or entity in engaging

          in or performing any of the activities referred to in the foregoing

          subparagraphs.

14. For an order directing the forfeiture, cancellation, and/or transfer to

   Counterclaim Plaintiff of all domain names and social media names that

   are identical and/or confusingly similar to the RFC Marks;




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15. For an order of the Court requiring that Counterclaim Defendant provide

   complete accountings for any and all monies, profits, gains and advantages

   derived by Counterclaim Defendant from its advertising, marketing,

   promoting, distributing, displaying, offering for sale, sale and/or other

   dealings in the infringing business and services, including prejudgment

   interest;

16. For a declaration on such terms as the Court may deem appropriate based

    on evidence to be offered and received at or prior to a hearing or trial that

    Counterclaim Plaintiff is the owner of its RFC Marks to the exclusion of

    the Counterclaim Defendant;

17. For an award of exemplary or punitive damages in an amount to be

    determined by the Court;

18. For Counterclaim Plaintiff’s reasonable attorneys’ fees;

19. For all costs of suit; and

20. For such other and further relief as the Court may deem just and proper.

21. Award attorneys’ fees, costs, and interest under 15 U.S.C. § 1117(a).

22. Grant such other and further relief as the Court deems just and proper.




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DEMAND FOR JURY TRIAL

       Counterclaim Plaintiff demands trial by jury on all issues so triable.

Respectfully submitted,

Dated: New York, NY
                                           SHARMALAW – Ravi Ivan Sharma, P.C.
January 31, 2025




                                           By:       /s/
                                                     Ravi Ivan Sharma
                                                     26 Broadway, Suite 1108
                                                     New York, NY 10004
                                                     (212) 537-5957
                                                     ravi@sharmalaw.com

                                                     Counsel for Defendants and
                                                     Counterclaim Plaintiff




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